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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

AMY JETT, individually and on                 )
behalf of all others similarly situated,      )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )       Case No.: 3:18-cv-1366
                                              )
WARRANTECH CORPORATION and                    )       JURY TRIAL DEMANDED
AMT WARRANTY CORPORATION,                     )
                                              )
                Defendants.                   )

                                 CLASS ACTION COMPLAINT

        Plaintiff, Amy Jett, individually and on behalf of all others similarly situated, through her

undersigned counsel, alleges for her Class Action Complaint against Defendants, Warrantech

Corporation and AMT Warranty Corporation, based upon personal knowledge as to herself and

her own acts and experiences, and, as to all other matters, upon information and belief, including

the investigation conducted by her counsel as follows:

                                   NATURE OF THE ACTION

        1.      This action arises from the unfair, deceptive, and unlawful business practices of

Defendants with respect to the advertising, marketing, and sales of warranty plans known as

extended service plans (“ESPs”).

        2.      As alleged herein Defendants engaged in unconscionable, unfair, and/or deceptive

acts and practices related to the extended service plans including but not limited to selling ESPs

that purport to provide immediate to the consumers who purchase them.

        3.      Despite the express representations, promises and contractual obligations to the

contrary alleged herein, Defendants routinely and uniformly fail to provide purchasers any benefits

or service under the plans when products fail during the original manufacturer’s warranty.
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        4.      The above-described practices, alleged in further detail below, give rise to

Plaintiff’s and the putative class’ claims for violation of the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 ILCS 505/1 et seq. (Count I), breach of contract (Count II),

unconscionability (Count III), and unjust enrichment (Count IV).

                                  JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2), as

this is a class action in which the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, and is a class action in which members of the class, which number

in excess of 100, are citizens of states different from Defendants.

        6.      Jurisdiction over Defendants is proper under 735 ILCS 5/2-209(b)(4) (corporation

doing business within this State), and Section 2-209(c) (any other basis now or hereafter permitted

by the Illinois Constitution and the Constitution of the United States). 735 ILCS 5/2-209(b)(4),

and (c).

        7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a substantial

part of the events giving rise to the claim occurred in this district.

                                              PARTIES

        8.      Plaintiff, Amy Jett (“Plaintiff” or “Ms. Jett”), is a natural person domiciled in Glen

Carbon, Illinois. Plaintiff is a member of the putative class defined herein.

        9.      Defendant Warrantech Corporation (“Warrantech”) is a Delaware corporation with

its principal place of business in Bedford, Texas. Warrantech provides extended service plans

(ESPs) and warranty programs for retailers, dealers, distributors, and manufacturers in numerous

consumer and automotive markets. Warrantech is a subsidiary of AmTrust Financial Services, a

multinational property and casualty holding company.




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       10.     Defendant AMT Warranty Corporation (“AMT”) is a Delaware corporation with

its principal place of business in Cleveland, Ohio. AMT provides extended service plans, original

equipment manufacturers' warranties, and warranty card programs for businesses and consumers

in the United States. It operates as a subsidiary of AmTrust Financial Services.1

                                        BACKGROUND

       11.     Defendants provide warranty products and administrative services for

manufacturers, retailers, dealers, and distributors of automotive and consumer products sectors.

       12.     Defendants develop and market service contract plans and administrative services

for automobiles, light trucks, powersports, watercraft, recreational vehicles, and mobility vans

through franchised automobile dealers, independent automobile dealers, leasing companies,

financial institutions/credit unions, and dealer/agent insurance company captives.

       13.     Defendants also engage in the underwriting and administration of service contracts

and extended warranties on various consumer products, such as consumer electronics, computers,

peripherals and accessories, power tools, lawn and garden equipment, fitness equipment, jewelry,

appliances, home office equipment, furniture, optics and eyewear, telecommunications, and yellow

goods. In addition, it offers boat coverage; and service plans directly to consumers.

       14.     Defendants’ business is divided into two divisions--automotive, which operates

domestically, and consumer products, which operates both domestically and internationally.

Defendants’ automotive business consists of marketing and administering vehicle service

programs that offer coverage for terms ranging between three months and 84 months. The

company’s consumer products segment develops, markets, and administers extended warranties




1
 For the sake of convenience, Defendants are sometimes collectively referred to as
“Warrantech.”

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and product replacement plans for a range of household appliances and consumers electronics,

such as televisions and computer equipment. Part of Defendants’ consumer products division also

includes home warranties, which cover the mechanical breakdown of home systems such as

plumbing, heating, and air-conditioning systems.

       15.     A service plan is a contract to purchasers of products for an additional fee. A

service plan is a separate policy from the manufacturer's warranty. While the typical service plan

does require preventative and routine maintenance to be taken in accordance with the

manufacturer's warranty, it does not actually require a product to fail or malfunction under the

same conditions. Service plans are also active from the date of purchase, meaning products can be

purchased with service plans that is before or at the same time as the manufacturer's warranty. The

key distinction is that a warranty strictly covers defects in workmanship and materials, while

service plans cover product failure in general with a list of exclusions. To help differentiate from

manufacturer's warranties, service plans occasionally come with additional benefits, such coverage

for theft or accidental damage, replacements if a product fails a given number of times ("no lemon

policy"), access to additional services, priority service and technical support.

       16.     Defendants market, sell, and administer extended service plans (ESPs) to

consumers. According to Defendants’ website, its ESPs are designed to help manage the cost and

inconvenience of product failures. Defendants further purport that the ESPs can be purchased for

just a fraction of what a consumer would pay for service repair and, in some cases, the savings can

add up to hundreds of dollars.

                DEFENDANTS’ REFUSAL TO COVER DEFECTIVE PRODUCTS

       17.     Defendants sell their ESPs through a number of major retailers, including H.H.

Gregg, Inc.




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       18.     H.H. Gregg was a retailer of consumer electronics and home appliances in the

Midwest, Northeast, and Southeast United States. Its retail offerings included home entertainment

video and audio products, computers, and other selected consumer electronics; home appliances,

such as refrigerators, ranges, dishwashers, freezers, washers, and dryers; and other products and

services, including mattresses.

       19.     The brand was purchased from the company's bankruptcy trustee for $400,000 and

in August 2017, it was revived as an online business. H.H. Gregg has closed all stores except for

the one in New Jersey, which is their last location operating.

       20.     When buying products from H.H. Gregg, consumers can purchase extended service

plans to cover said products. Those extended service plans are underwritten and issued by

Defendants. The plans themselves are in embodied in detailed, uniform contractual provisions.

       21.     Upon information and belief, the terms of these ESPs are identical in all material

respects.

       22.     Defendants purport to repair or replace the covered product in the event the product

is rendered inoperable during the term of the service agreement. It is the express purpose of the

service plan to provide coverage in case of a product failure.

       23.     The ESPs purport to provide coverage beginning on the date of product purchase.

Specifically, inter alia, the ESP brochure accompanying the product states, “Coverage begins on

the date of purchase.” Premium Service Plan (emphasis added).

       24.     The contract itself states, “Coverage under this Service Agreement begins on the

date of product purchase or date of installation by the selling retailer . . . and continues for the

period of time defined on Your sales receipt. This Service Agreement is inclusive of the

manufacturer’s warranty; it does not replace the manufacturer’s warranty, but provides certain




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benefits during the term of the manufacturer’s warranty.” Extended Service Protection Agreement

(emphasis added).

       25.     Notwithstanding the above representations, the actual policy and practice of

Defendants is to not provide any benefits or service for products that fail during the original

manufacturer’s warranty, despite their representations and misleading statements to the contrary.

       26.     Defendants have been the subject of a litany of complaints, from a large number of

dissatisfied customers, who have complained to Defendants about its’ unlawful and deceptive

business practices set forth herein.

       27.     The Consumers Affairs website, which provides a forum for consumers to post

reviews of their experiences with a brand, includes numerous complaints from consumers

regarding the alleged practices set forth herein. See hhgregg Consumer Complaints and Reviews,

Consumer Affairs, https://www.consumeraffairs.com/retail/hh_gregg.html (last visited June 13,

2018). Examples of such complaints appear below (errors in original):

               Darlene of Indianapolis, IN on March 11, 2017

               Getting service under extended warranty purchased pulling teeth.
               Get the run around or can't place call due to how written up or not
               at home in front of appliance. Why do I need to be in front of
               appliance when they are able to pull up all the information or tell
               you that they can place call but would have to pay service call.
               Twice I have called both times got run around that I ended getting
               repairman and ending up paying for repairs that should of been
               covered under warranty since I needed use of appliance. Spent lunch
               hour trying to get appointment under warranty. No luck. Told and
               order part. Once arrived put on. Still didn't work. Was called. Was
               told since I attempted to put part on couldn't place service call.

               Angela of Louisville, KY on March 27, 2017

               I phoned hhgregg on March 17th 2017 and explained that my 1 and
               a half year old Maytag washer was not operating. I explained that
               the electronic message stated DL which by looking in the customer
               handbook in the troubleshooting it stated that that meant Door Lock.



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            I spoke with a agent at the following number 877-456-9643. I
            explained that I had paid $149.00 for the 5 yr extended warranty. I
            was then told I would receive a call in 1-2 business days. I waited 3
            business days and phoned back to the same number I had called with
            my claim. I was then told that there was a search for a repair
            company that would be getting back to me the next day for sure.
            That also, did not happen.

            I then phoned again the next day on March 23rd and was told that
            Park Appliance Repair center would be here Friday the 24th. I
            waited until 2:30 pm and I phoned the repair company and asked
            what time they would be at my house to fix my washer. I was then
            told it would now be Monday March 27th. I then phoned them again
            and the person at Park Appliance said not today. They said it would
            be more like Friday the 31st and told me. "... by the way mam, we
            will look at it and then we have to get permission to order a part for
            the door lock and then come a later time to install it." Which will be
            more like 1 to 2 weeks total!!

            There are 5 people in my household and I can't use my washer! I am
            disabled due to cancer/leukemia. I can't go to the laundromat and
            use their washer! I am not physically able. I then re-phoned
            HHGREGG customer service and the agent apologized but,
            suggested that I pay for a Maytag repairman to come and repair my
            washer which she said it would cost between $150-$200 and then
            try to get reimbursed for my out of pocket cost. I find this totally
            UNACCEPTABLE! I have been lied to Over and Over again! Don't
            buy the WARRANTY!! It is VERY MISLEADING!

            Dennis of Brandon, FL on March 30, 2017

            Purchased a computer and extended warranty. The computer started
            shutting down. They sent a tech with a part to put it. It did not fix it.
            They put a program on the computer to measure the heat in the
            computer. It showed one hot symbol. They sent the tech again a few
            days later and another part. They ran the program again and had all
            kinds of fire signs on it. They said because it didn't shut down
            immediately as it was it was fine. The tech tried to tell them there
            was something still wrong. Warrantech people told him it was fine
            and to leave.

            Two days later the computer literally blew up. It had fire and smoke
            coming out of it. Called HHGregg again and they said they would
            call back in one day. Now a week later we talked to the Vendor
            Relations Supervisor and was informed that they will only give us
            $517.99 back on a $739.99 purchase. Take it or leave it. We can



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               have a $222.00 store credit that can only be spent at their store.
               Explain there was nothing else we need -- just a desktop computer,
               which they no longer sell.

               Asked to speak to her supervisor and she said she would pass on the
               message. Her attitude said "Don't hold your breath -- we got your
               money and there is nothing you can do about it." DON'T BUY ANY
               WARRANTIES FOR ANY ITEMS THAT DEALS WITH
               WARRANTECH or their parent company... They do not honor their
               warranties... Do not buy from hhgregg... They will hold you hostage
               to buy from store credits. Now I sit and wonder if we will ever see
               any of our money after the attitudes of these people.

                            FACTS RELATING TO PLAINTIFF

       28.     On or about June 4, 2016, Plaintiff purchased a LG Electronics, Inc. (“LG”)

refrigerator from H.H. Gregg store for $2,799.99 for use in her Glen Carbon, Illinois, home.

       29.     On that same day, Plaintiff purchased a five year extended service plan to cover the

purchased refrigerator for $350.00.

       30.     Soon thereafter, the refrigerator became inoperable due to an apparent

manufacturing defect in one of its component parts.

       31.     Accordingly, immediately and within the five years covered by the ESP, Plaintiff

contacted Warrantech customer service to request service or replacement under her plan.

       32.     Contrary to the terms of the service plan, Defendants refused to assist with or pay

for the repair or replacement of Plaintiff’s refrigerator. This was more than a mere inconvenience,

as Plaintiff was dependent on the appliance for the safe storage of her family’s refrigerated and

frozen food items during the hot summer months after she purchased the refrigerator and ESP.

       33.     Finally, after months-long efforts to obtain the assistance of Warrantech and H.H.

Gregg, on or about April 5, 2017, the manufacturer, LG, processed a buyback for Plaintiff and

refunded her money for the refrigerator.




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       34.     Thereafter, on or about April 24, 2017, Plaintiff requested the cancellation of her

extended service plan and a full refund.

       35.     In response, Plaintiff received only a partial refund check from H.H. Gregg for

$256.16, despite Warrantech’s refusal to honor the terms of its contract with her by failing to repair

or replace her defective LG refrigerator.

       36.     The experience of Plaintiff is not unique, as demonstrated by the anecdotes told by

other members of the Class. See, e.g., hhgregg Consumer Complaints and Reviews, Consumer

Affairs, https://www.consumeraffairs.com/retail/hh_gregg.html (last visited June 13, 2018).

                               CLASS ACTION ALLEGATIONS

       37.     This action satisfies the prerequisites for maintenance as a class action provided in

Fed. R. Civ. P. 23(a), as set forth below.

       38.     Class Definition. Plaintiff brings this action individually and on behalf of the

following class of similarly situated persons (the “Class”), of which Plaintiff is a member:

               All natural persons domiciled in the United States or its territories
               who purchased a Warrantech extended service plan and whose
               requests for service of a product thereunder during the term of the
               manufacturer’s warranty were denied.
Excluded from the Class are Defendants and any of its respective officers, directors or employees,

the presiding judge, Class counsel and members of their immediate families, and persons or entities

who timely and properly exclude themselves from the Class.

       39.     Illinois Subclass. In the alternative, Plaintiff brings this action individually and on

behalf of a sub-class of Illinois consumers only who are members of the above-defined class.

       40.     Numerosity. The members of the Class are so numerous and geographically

dispersed throughout the United States such that joinder of all members is impracticable. Plaintiff

believes that there are thousands of persons in the Class. The exact number and identity of Class



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 members is unknown to Plaintiff at this time and can only be ascertained from information and

 records in the possession, custody or control of Defendants.

         41.       Commonality. There are questions of law or fact common to the Class including,

 inter alia, the following:

                   a.     whether the Illinois Consumer Fraud and Deceptive Business Practices Act,

 815 ILCS 505/1 et seq., applies to the claims of Plaintiff and members of the Class and/or entitles

 them to relief;

                   b.     whether a contract existed between Defendants on the one hand and Plaintiff

 and the Class on the other and the terms of that contract;

                   c.     whether Defendants sell illusory extended service plans which include

 terms that effectively impose no obligations on Defendants;

                   d.     whether Defendants made misleading representations about its extended

 service plans that would have deceived an objectively reasonable person;

                   e.     whether Defendants’ conduct, including the drafting and/or sale of its

 illusory extended service plans is unconscionable;

                   f.     whether Plaintiff and the Class conferred a benefit on Defendants when they

 paid for their extended service plans and whether it would be unjust for it to retain such benefits

 under the circumstances alleged herein;

                   g.     whether the Court has subject matter jurisdiction and whether venue in this

 district is proper;

                   h.     whether Plaintiff and the members of the Class are entitled to their damages,

 including treble damages, and the appropriate measure thereof; and

                   i.     whether equitable or injunctive relief is appropriate.




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        42.      Typicality. The claims of Plaintiff are typical of the claims of the Class alleged

 herein. Plaintiff and other members of the Class are all persons who purchased an extended service

 plan sold by Defendants and experienced a product failure within the coverage period of the

 manufacturer’s original warranty.

        43.      Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.

 Plaintiff has retained counsel who are competent and experienced in the prosecution of complex

 and class action litigation. The interests of Plaintiff are aligned with, and not antagonistic to, those

 of the Class.

        44.      Fed. R. Civ. P. 23(b)(2) Requirements. The prerequisites to maintaining a class

 action for injunctive and equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) exist, as Defendants

 have acted or has refused to act on grounds generally applicable to the Class thereby making

 appropriate final injunctive and equitable relief with respect to the Class as a whole.

        45.      Defendants’ actions are generally applicable to the Class as a whole, and Plaintiff

 seeks, inter alia, equitable remedies with respect to the Class as a whole.

        46.      Defendants’ uniform common course of conduct alleged herein makes declaratory

 relief with respect to the Class as a whole appropriate.

        47.      Fed. R. Civ. P. 23(b)(3) Requirements. This case satisfies the prerequisites of Fed.

 R. Civ. P. 23(b)(3). The common questions of law and fact enumerated above predominate over

 questions affecting only individual members of the Class, and a class action is the superior method

 for fair and efficient adjudication of the controversy.

        48.      The likelihood that individual members of the Class will prosecute separate actions

 is remote due to the extensive time and considerable expense necessary to conduct such litigation,




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 especially in view of the relatively modest amount of monetary, injunctive and equitable relief at

 issue for individual Class members.

           49.    This action will be prosecuted in a fashion to ensure the Court’s able management

 of this case as a class action on behalf of the Class.

                                               COUNT I

  (Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

                                             505/1 et seq.)

           50.    Plaintiff repeats and realleges the allegations of Paragraphs 1 through 49, supra, as

 though fully stated herein.

           51.    This Count is brought on behalf of Plaintiff and other members of the Illinois

 Subclass members and on behalf of those Class members from other states that have enacted a

 uniform deceptive trade practices act in the same or substantially similar form as that described

 herein.

           52.    At all times material hereto, there was in full force and effect an act commonly

 known as the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et

 seq. (“ICFA”).

           53.    Section 2 of ICFA prohibits “unfair or deceptive acts or practices, including but not

 limited to the use or employment of any deception, fraud, false pretense, false promise,

 misrepresentation, or the concealment, suppression or omission of any material fact, with intent

 that others rely upon the concealment, suppression or omission of such material fact, or the use of

 employment of any practice described in Section 2 of the ‘Uniform Deceptive Trade Practices Act’

 [815 ILCS 510/2], approved August 5, 1965, in the conduct of any trade or commerce . . . whether

 any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.




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        54.     At all times material hereto, there was in full force and effect in this State an act

 commonly known as the Uniform Deceptive Trade Practices Act (“UDAP”), 815 ILCS 510/2 et

 seq., incorporated by reference in Section 2 of ICFA, supra.

        55.     The aforesaid acts and practices of Defendants constitute unfair or deceptive acts

 or practices prohibited by Section 2 of ICFA, including but not limited to the use or employment

 of deception, fraud, false pretense, false promise, misrepresentation or the concealment,

 suppression or omission of material fact, with intent that Plaintiff and the Class rely thereon. See

 815 ILCS 505/2.

        56.     The aforesaid acts and practices of Defendants further fall within the practices

 prohibited by Section 2 of the Uniform Deceptive Practices Act incorporated by reference in 815

 ILCS 505/2, supra.

        57.     By committing the acts alleged in this Complaint, Defendants have misled Plaintiff

 and the Class into purchasing extended service plans, in part or in whole, due to an erroneous belief

 that the ESPs provided coverage from the date of the product’s purchase. Instead, Plaintiff and the

 Class paid for a deceptive, worthless, and illusory plan that effectively imposed no obligations on

 Defendants.

        58.     As a direct and proximate result of the foregoing, Plaintiff and the Class purchased

 extended service plans from Defendants that they would not have purchased had the true

 characteristics been known to them. Alternatively, Plaintiff and the Class lacked the information

 necessary to make an informed choice regarding their decision to purchase such ESPs, causing

 them to pay for a service plan that possessed negligible or de minimis value because they never

 come into effect.




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         59.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

 to be proven at trial.

                                             COUNT II

                                        (Breach of Contract)

         60.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 49, supra, as

 though fully stated herein.

         61.     When Plaintiff and the Class bought a product from H.H. Gregg, they entered into

 a contract with Defendants, wherein Plaintiff and members of the Class agreed to pay for an

 extended service plan.

         62.     In exchange, Defendants agreed to help Plaintiff and the Class manage the cost and

 inconveniences of covered product failures by replacing or repairing the said product.

         63.     Plaintiff and the Class performed their duties under the aforesaid contract by paying

 the purchase price of the extended service plan in full.

         64.     Plaintiff and the Class were denied coverage for their product failures by

 Defendants despite Defendants’ representation in the service agreement that coverage begins on

 the date of product purchase.

         65.     By failing to repair product failures and/or refund the entire purchase price of the

 extended service plan, Defendants breached its contractual obligations to plaintiffs and the class.

         66.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

 to be proven at trial.




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                                              COUNT III

                                          (Unconscionability)

         67.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 49, supra, as

 though fully stated herein.

         68.     The ESPs are unconscionable because, as explained herein, their terms are illusory,

 which effectively impose no obligations on Defendants and provides no benefits to consumers.

         69.     Defendants made deceptive and/or misleading representations regarding the ESPs

 that would have deceived an objectively reasonable person into believing the ESPs were valuable

 and that the consumers’ purchases would be “protected” and/or that they would be entitled to

 coverage under the ESPs.

         70.     Plaintiff and the members of the class would not have purchased the ESPs had they

 been fully informed regarding the above-referenced policies and procedures.

         71.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

 to be proven at trial.

                                              COUNT IV

                                          (Unjust Enrichment)

         72.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 49, supra, as

 though fully stated herein.

         73.     Plaintiff and the Class conferred a benefit on Defendants by paying the full

 purchase price of the extended service plan.

         74.     Defendants appreciated the benefits of such payments in the form of revenue

 received from Plaintiff and the Class.




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         75.     Furthermore, once the Plaintiff and the Class cancelled their extended service plan,

 Defendants kept a portion of the purchase price of the ESP despite having not provided any service

 to the purchaser whatsoever.

         76.     Defendants’ acceptance and retention of the aforesaid benefits under the

 circumstances alleged herein would be inequitable absent the repayment of such amounts to

 Plaintiff and the Class.

         77.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

 to be proven at trial.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of members of the Class, prays for

 judgment in their favor and against Defendants and for the following relief: 

                 A.       Finding that this action satisfies the prerequisites for maintenance as a class

 action set forth in Fed. R. Civ. P. 23, certifying the Class defined herein and designating Plaintiff

 as representative of the Class and her undersigned counsel as Class counsel;

                 B.       Awarding Plaintiff and the Class (1) their actual damages, (2) such

 exemplary damages as the Court may allow, and (3) the costs of this action together with

 reasonable attorneys’ fees as determined by the Court;

                 C.       Awarding Plaintiff and the Class all allowable pre- and post-judgment

 interest on the foregoing awarded damages;

                 D.       Awarding Plaintiff and the Class equitable relief including, inter alia, a

 finding that the contracts they entered into are void and unenforceable and disgorgement of

 Defendants’ ill-gotten gains;

                 E.         Granting appropriate injunctive and declaratory relief; and



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               F.      Awarding such other and further available relief and any other relief the

 Court deems just and appropriate.

                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

 Date: July 9, 2018                                      Respectfully submitted,

                                                         AMY JETT

                                               By:        s/ William M. Sweetnam

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